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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


M.H., individually and on behalf of M.T., a child with                 _____________
                                                                        PROPOSED
a disability,                                                           AMENDED
                                                                        JUDGMENT
                                Plaintiff,
                                                                         Case 1:20-CV-01923-LJL
        -against-

NEW YORK CITY DEPARTMENT OF EDUCATION,

                                Defendant.


        It is hereby ORDERED, ADJUDGED, AND DECREED, that for the reasons set forth in

the Court’s Amended Opinion and Order, dated October 13, 2021, granting in part and denying

in part Plaintiffs’ motion for summary judgment, and granting Defendant’s cross-motion for

summary judgment, Plaintiff is entitled to attorneys’ fees in the amount of $99,029.00 and costs in

the amount of $670.88, for a total award of $99,699.88, plus post-judgment interest thereupon at the

applicable statutory rate. For clarity, Plaintiffs’ award has been calculated as follows:

                            Rate per Hours in Admin           Hours in Federal      Total
Attorney/Paralegal                                                                                 Total
                            Hour     Proceeding               Proceeding            Hours

Andrew Cuddy                $420                        1.0                 24.2                     $10,584
                                                                                            25.2
Jason Sterne                $420                       26.2                   1.4           27.6     $11,592
Justin Coretti (travel)     $140                        2.0                                  2.0        $280

Justin Coretti              $280                       12.2                   0.2                     $3,472
                                                                                            12.4
Nina Aasen (travel)         $210                        6.0                                  6.0      $1,260
Nina Aasen                  $420                       85.1                   0.6           85.7     $35,994


Benjamin Kopp               $200                                          146.13       146.13        $29,226
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                                                                     0.2
Kevin Mendillo           $280                             0.2                    $56

Jaclyn Kaplan (serve
                         $90                              1.0        1.0         $90
process)


Shobna Cuddy             $100                1.6          4.6        6.2        $620


Sarah Woodard            $100                2.4                     2.4        $240

Allison Bunnell          $100               32.1          7.2                 $3,930
                                                                    39.3
Amanda Pinchak           $100                3.6                     3.6        $360
Diana Gagliostro         $125                0.2                     0.2         $25
Rebecca Mills            $100                3.7                     3.7        $370


Alysson Green            $100                             4.7        4.7        $470


Burhan Meghezzi (legal
                       $100                               0.7        0.7         $70
assistant)
                                                          3.7
Cailin O’Donnell         $100                                                   $370
                                                                     3.7
John Slaski (legal
                         $100                             0.2        0.2         $20
assistant)

                                                                FEE
                                                                           $99,029.00
                                                                SUB-
                                                                TOTAL
Item
Copying Costs (administrative proceeding)                                     $69.40
Toll                                                                           $8.85
Mileage                                                                      $154.40
Parking                                                                       $28.50
Postage                                                                        $2.13
Copying Costs (federal proceeding)                                             $7.60
Filing Fee                                                                      $400
COST SUB-TOTAL                                                                $670.88
TOTAL                                                                      $99,699.88
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       It is FURTHER ORDERED, ADJUDGED, AND DECREED, that for the reasons set

forth in the Court’s Amended Opinion and Order, dated October 13, 2021, Plaintiff’s request for

pre-judgment interest on the award of attorneys’ fees and costs is denied.

       It is FURTHER ORDERED, ADJUDGED, AND DECREED, that for the reasons set

forth in the Court’s Amended Opinion and Order, dated October 13, 2021, Plaintiff’s second and

third causes of action for equitable relief are hereby dismissed.

SO ORDERED.



       October 21, 2021
Dated:______________________                  ___________________________________
       New York, New York                     HONORABLE LEWIS J. LIMAN
                                              UNITED STATES DISTRICT JUDGE
